 Case 2:24-cv-00012-TSK Document 2 Filed 06/18/24 Page 1 of 5 PageID #: 17



                IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               ELKINS

MOUNTAIN VALLEY PIPELINE, LLC,

           Plaintiff,

v.                                      CIVIL ACTION NO. 2:24-CV-12
                                                  (KLEEH)

JEROME JAMES WAGNER,

           Defendant.


                  FIRST ORDER AND NOTICE REGARDING
                DISCOVERY AND SCHEDULING CONFERENCE

     Pursuant to Fed. R. Civ. P. 16(b) and 26(f) and Local Rule of

Civil Procedure (“L.R. Civ. P.”) 16.01 and 26.01, it is hereby

ORDERED:

     1. Initial Planning Meeting on or before: July 18, 2024

     2. Meeting Report on or before:        August 1, 2024

     3. Initial Disclosures on or before: August 19, 2024

     4. Scheduling Conference:      if necessary

     (1) Initial Planning Meeting: Pursuant to Fed. R. Civ. P. 16

and 26(f) and L.R. Civ. P. 16.01(b), parties to this action shall

meet in person or by telephone on or before July 18, 2024.               At

this meeting, the parties shall discuss all matters required by

Fed. R. Civ. P. 16 and 26(f) and L.R. Civ. P. 16.01(b).




                                    1
 Case 2:24-cv-00012-TSK Document 2 Filed 06/18/24 Page 2 of 5 PageID #: 18



     (2) Meeting Report and Proposed Discovery Plan: Pursuant to

Fed. R. Civ. P. 26(f) and L.R. Civ. P. 16.01(c), the parties shall

submit to this Court a written report on the results of the initial

discovery meeting and a completed Scheduling Order Checklist (see

attached) on or before August 1, 2024.         The written report shall

include the parties’ report on those matters set forth in L.R.

Civ. P. 16.01(b)(1-5) and 16.01(c) and the parties’ discovery plan

as required by Fed. R. Civ. P. 26(f).      The parties’ report on their

meeting shall be considered by this Court as advisory only.

Parties and counsel are subject to sanctions as set forth in Fed.

R. Civ. P. 16(f) and L.R. Civ. P. 37.01 for failure to participate

in good faith in the development and submission of a meeting report

and proposed discovery plan.

     (3) Initial Discovery Disclosures: Pursuant to Fed. R. Civ.

P. 26(a)(1) and L.R. Civ. P. 26.01(a), each party shall provide to

every other party the initial discovery disclosures required under

Fed. R. Civ. P. 26(a)(1) on or before August 19, 2024.

     (4) Telephonic Scheduling Conference: Upon receipt of the

meeting report and proposed discovery plan, this Court may conduct

a scheduling conference at a date and time deemed appropriate.

See Fed. R. Civ. P. 16(b) and L.R. Civ. P. 16.01(d).          However, if

this Court determines, after a review of the meeting report and

proposed discovery plan, that a scheduling conference is not
                                    2
 Case 2:24-cv-00012-TSK Document 2 Filed 06/18/24 Page 3 of 5 PageID #: 19



necessary, no conference will be scheduled, and a scheduling order

will be entered.      See Fed. R. Civ. P. 16(b) and L.R. Civ. P.

16.01(d).

     It is so ORDERED.

     The Clerk is directed to transmit copies of this Order to all

counsel of record herein, along with copies of this Court’s

Scheduling Order Checklist.

     DATED: June 18, 2024


                                  ____________________________
                                  THOMAS S. KLEEH, CHIEF JUDGE
                                  NORTHERN DISTRICT OF WEST VIRGINIA




                                    3
 Case 2:24-cv-00012-TSK Document 2 Filed 06/18/24 Page 4 of 5 PageID #: 20



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 ELKINS

MOUNTAIN VALLEY PIPELINE, LLC,

             Plaintiff,

v.                                       CIVIL ACTION NO. 2:24-CV-12
                                                   (KLEEH)

JEROME JAMES WAGNER,

             Defendant.


                      SCHEDULING ORDER CHECKLIST

ATTORNEYS:


                                                          DATE:

JOIN PARTIES OR AMEND PLEADINGS

PLAINTIFF EXPERT DISCLOSURE

DEFENDANT EXPERT DISCLOSURE

COMPLETION OF DISCOVERY

NOTIFICATION OF MEDIATOR SELECTION

MEDIATION

DISPOSITIVE MOTIONS

RESPONSE TO DISPOSITIVE MOTIONS                  Within 21 days of the
                                                  filing of the motion
REPLY TO DISPOSITIVE MOTIONS                     Within 14 days of the
                                                  filing of a Response
PRETRIAL DISCLOSURES, FED R. CIV. PRO.
26(a)3

                                     4
 Case 2:24-cv-00012-TSK Document 2 Filed 06/18/24 Page 5 of 5 PageID #: 21



     OBJECTIONS

PROPOSED VOIR DIRE, JURY INSTRUCTIONS,
VERDICT FORMS, & SPECIAL INTERROGATORIES
     OBJECTIONS

MOTIONS IN LIMINE

     OBJECTIONS

BIOGRAPHICAL SKETCHES

JOINT PRE-TRIAL ORDER

STIPULATION OF FACTS

FINAL PRE-TRIAL/SETTLEMENT CONFERENCE

TRIAL DATE (including number of days)

For a non-jury trial, provide deadlines
for Proposed Findings of Fact and
Conclusions of Law*

* Parties requesting a non-jury trial should adjust the deadlines
included in the checklist accordingly.




                                    5
